                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,                                    Case No. 1:23-CR-13

v.                                                               Hon. Hala Y. Jarbou

NATHAN GARY CHRISTENSEN,

               Defendant.
___________________________________/

                                       ORDER OF DETENTION

               Defendant appeared this date for a detention hearing. For the reasons stated on the record,

the Court finds that the government proved by clear and convincing evidence that no condition or

combination of conditions will assure the safety of the community.

               Accordingly, pending trial in this matter, the defendant is committed to the custody of the

Attorney General or his designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons serving sentences or being held in custody pending appeal.            The

defendant shall be afforded a reasonable opportunity for private consultation with his defense counsel.

On order of a court of the United States or on request of an attorney for the government, the person in

charge of the corrections facility shall deliver the defendant to the United States Marshal for the purpose

of an appearance in connection with a court proceeding.

               IT IS SO ORDERED.


Dated: February 10, 2023                                  /s/ Ray Kent
                                                          RAY KENT
                                                          United States Magistrate Judge
